        Case 1:25-mj-00143-WBP                 Document 1        Filed 03/03/25       Page 1 of 1 PageID# 1


AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                          for the
                                                 Eastern District ofVirginia

              United States ofAmerica                        )
                         V.                                  )
           MICHAEL CHARLES SCHENA                            )     Case No. l:25-mj-143
                                                             )
                                                             )     UNDER SEAL
                                                             )
                                                             )
                          Defendant(s)


                                              CRIMINAL COMPLAINT

       I, the complainant in this case, state that the following is true to the best ofmy knowledge and belief.
On or about the date(s) of        February 27, 2025                  in the county of       Fairfax County         in the
    Eastern            District of ----�---
                                     Vir ·nia - , the defendant(s) violated:
             Code Section                                             Offense Description
          18 U.S.C § 793(g)                                  Conspiracy to gather, transmit, or lose defense information




          This criminal complaint is based on these facts:
          See affidavit.




          � Continued on the attached sheet.


         Reviewed by AUSA/SAUSA:                                                     Complainant's signature

         [ AUSA Michael P. Ben'Ary                                              Adam Meredith, FBI Special Agent
                                                                                      Printed name and title

Sworn to before me and signed in my presence.


Date:     March 3, 2025
                                                                                        Judge's signature

City and state:        Alexandria, Virginia                          Hon. William E. Fitzpatrick, U.S. Magistrate Judge
                                                                                      Printed name and title
